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Attorneys for Plaintiff

                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF IDAHO

VICKI MICHAEL, individually and as
representative on behalf of a class of                       Case No. _____________________
similarly situated persons,
                                                             CLASS ACTION COMPLAINT FOR
                                     Plaintiff,              DECLARATORY AND INJUNTIVE RELIEF,
v.                                                           DAMAGES, AND PAYMENT OF PENSION
                                                             BENEFITS
CONAGRA BRANDS, INC. PENSION PLAN
FOR HOURLY PRODUCTION WORKERS, an
employee pension benefit Plan; CONAGRA
BRANDS EMPLOYEE BENEFITS
ADMINISTRATIVE COMMITTEE, the Plan
Administrator; CONAGRA BRANDS
APPEALS COMMITTEE and DOES I‐XX,
individual members of the Plan
administrative and/or appeals committees,

                                     Defendants.


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Plaintiff, Vicki Michael (“Vicki”), individually and on behalf of all others similarly situated,
by and through her attorneys, John Simmons and Norman G Reece Jr, hereby alleges the
following:
                                   I.         PRELIMINARY STATEMENT

         1.       Vicki, a participant in the Defendant ConAgra Brands, Inc Pension Plan for
Hourly Production Workers (the “ConAgra Plan”), brings this action on her own behalf
and on behalf of all similarly situated participants, their beneficiaries and estates,
pursuant to the Employee Retirement Income Security Act of 1974, as amended,
29 U.S.C. §§1001 et seq. (“ERISA”). The Plan Administrator (defendant ConAgra Brands
Employee Benefits Administrative Committee, i.e., the “Administrative Committee”)
specifically named below has failed to comply with the requirements of ERISA in
connection with the application of ConAgra Plan provisions, subtracting (i.e., offsetting)
more benefits by retirement income from a prior plan than the summary plan
description for the ConAgra Plan (Exhibit 1) specifies to be subtracted. In doing so, the
Administrative Committee has failed to apply the ConAgra Plan “for the exclusive
purpose of providing benefits to participants…in accordance with the documents and
instruments governing” the ConAgra Plan. The defendant ConAgra Brands Appeals
Committee (the “Appeals Committee”) has with complicity perpetuated the
maladministration by the Administrative Committee.

Vicki seeks to have the benefits properly computed pursuant to the terms of the
ConAgra Plan, subtracting only the lesser, appropriate amount of retirement income
paid by the prior plans and therefore ConAgra pay the properly‐computed benefits. In
the alternative, Vicki asserts a claim under ERISA §404, 29 U.S.C. §1104 that the
Administrative Committee and the Appeals Committee have breached their fiduciary
duties by not applying the ConAgra Plan for ‘the exclusive purpose of providing benefits



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to participants and their beneficiaries, i.e. to Vicki and those similarly‐situated ConAgra
Plan participants.

For these reasons, Vicki, on behalf of herself and similarly‐situated ConAgra Plan
participants, seeks to impose a constructive trust over those outstanding but as yet
unpaid benefits properly due to Vicki and the similarly‐situated ConAgra Plan
participants, to enable restitution.
                                  II.         JURISDICTION AND VENUE
         2.       Jurisdiction is appropriate under 28 U.S.C. §1331 in that 29 U.S.C. §1132(e)
confers jurisdiction upon the District Courts of the United States where, as here, the
claims relate to an “employee pension benefit plan” as that is defined within 29 U.S.C.
§1001, et seq.
         3.       Pursuant to 29 U.S.C. §1132(e)(2) (“in the district where the plan is
administered, where the breach took place, or where a defendant resides or may be
found”) and 28 U.S.C. §1391(b)(2) (“a judicial district in which a substantial part of the
events or omissions giving rise to the claim occurred…”), venue is proper in this District
as it is where the ConAgra Plan was administered or where the breach took place
because Vicki and other participants in the ConAgra Plan earned and accrued pension
benefits while employed here and the ConAgra Plan being ‘found’ in the District because
a substantial part of the ConAgra Plan’s administration has taken place in this District,
and in this District, a substantial part of the events and omissions giving rise to the claim
occurred.
                                              III.         PARTIES
A. Plaintiffs
         4.       Plaintiff Vicki Michael (“Vicki”) is a participant in the ConAgra Plan, within
the meaning of ERISA §3(7), 29 U.S.C. §1002(7). She resides in Chubbuck, Idaho. She
worked in covered employment within the meaning of the ConAgra Plan from 1974 to


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2016. Her employee ID number is 1750699.
B. Defendants and Fiduciary Status
         5.       Defendant ConAgra Brands, Inc. Pension Plan for Hourly Rate Production
Workers (the “ConAgra Plan”) is an “employee pension benefit Plan” within the
meaning of ERISA §3(2)(A), 29 U.S.C. §1002(2)(A), plan number 010 of ConAgra Brands,
Inc. (EIN: 47‐0248710). The ConAgra Plan offices are located at One ConAgra Drive,
Omaha, Nebraska 68102‐5001. The history of the portion of the ConAgra Plan at issue
here is:
                  a)       Amfac Foods, Inc. established and maintained the Pension Plan for
         Hourly Bargaining Unit Employees of Amfac Foods, Inc. pursuant to which
         employees of Amfac Foods, Inc. earned ‘benefit service’ through June 6, 1988
         (“Prior Amfac Plan”), when that Prior Amfac Plan was terminated.
                  b)       Following the sale of the outstanding common stock of the
         company by Amfac Foods, Inc, the Prior Amfac Plan was terminated.
                  c)       As a successor plan for the affected participants of the Prior Amfac
         Plan, the Pension Plan for Hourly Bargaining Unit Employees of Lamb‐Weston,
         Inc. (plan number 203 of Lamb Weston, Inc (EIN: 47‐0717390)) was established
         effective June 6, 1988, and vesting service credit given thereunder for
         employment prior to June 8, 1988 to the extent it had been credited under the
         Prior Amfac Plan.
                  d)       The         Pension           Summary             Plan   Description/January 1,
         2013/LWBAR/American Falls ID for the Pension Plan for Hourly Bargaining Unit
         Employees of Lamb‐Weston attached hereto and marked on the first page as
         “Exhibit 1” (herein referred to as the “Plan Summary”) was provided to eligible
         employees, beneficiaries, etc., including Vicki.
                  e)       The Pension Plan for Hourly Bargaining Unit Employees of Lamb‐


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         Weston, Inc. was merged effective December 31, 2014 into and has been
         continued as a part of the ConAgra Plan, which is plan number 10 of ConAgra
         Brands, Inc. (EIN: 47‐0248710).
                  f)       The Pension Plan for Hourly Bargaining Unit Employees of Lamb‐
         Weston and the portion of the ConAgra Plan resulting from the merger of the
         Pension Plan for Hourly Bargaining Unit Employees of Lamb‐Weston into the
         ConAgra Plan shall hereinafter be referred to simply as the “Bargaining Unit
         Plan”.
                  g)       On pages 6‐8 of the Plan Summary for the Bargaining Unit Plan
         (Exhibit 1), under the heading “How is My Pension Benefit Calculated?”, there is
         explained the formula for computing benefits under the Bargaining Unit Plan,
         with a table of rates, equation, step‐by‐step “Sample Calculation” (hereinafter,
         the “Benefit Formula”).
                  h)       The Plan Summary for the Bargaining Unit Plan (Exhibit 1) specifies
         on page 6 that an employee’s benefit service under the Prior Amfac Plan “is
         benefit service under” the Bargaining Unit Plan.
                  i)       On pages 6 and 7 of the Plan Summary (Exhibit 1), benefit service
         taken into account in the Benefit Formula is capped at 35 years (“the 35 Year
         Cap”). Benefit service years before that are disregarded (“Disregarded Service”)
         in the Benefit Formula.
         6.       Defendant ConAgra Brands Employee Benefits Administrative Committee
(the “Administrative Committee”) is the administrator of the Bargaining Unit Plan,
within the meaning of ERISA §3(16)(A)(i), 29 U.S.C. §1002(16)(A)(i), is a “plan fiduciary”
within the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21(A) with the authority and
control to manage the operation and administration of the Bargaining Unit Plan within
the meaning of ERISA §402(a), 29 U.S.C. §1102(a). The Administrative Committee’s


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offices are at One ConAgra Drive, Omaha, Nebraska 68102‐5001.
         7.       Defendant          ConAgra        Brands       Appeals           Committee   (the     “Appeals
Committee”) is a “plan fiduciary” within the meaning of ERISA §3(21)(A), 29 U.S.C.
§1002(21(A).         The Appeals Committee’s offices are at 222 W. Merchandise Mart,
Suite 1300, Chicago, Illinois 60654.
         8.       Defendants Does I‐XX are members of the Administrative Committee or
Appeals Committee, and as such together in the minimum number necessary to cause
the Administrative Committee or the Appeals Committee, respectively, to set policies,
take action and make decisions for such committee(s) are a “plan fiduciary” within the
meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A).
         9.       The Administrative Committee and its members have exercised authority
to and have adopted rules, regulations, and policies for the administration of, to make
eligibility and other benefits determinations under, and to interpret and/or effectuate
the Bargaining Unit Plan. Such persons in their official capacities collectively have
served as the administrator of the Bargaining Unit Plan, as described in 29 U.S.C.
§1002(16).
                               IV.           CLASS ACTION ALLEGATIONS
         10.      Class Definition. Vicki brings this action on behalf of herself and under
Federal Rules of Civil Procedure 23(a), (b)(1) and (b)(2), as representative of the
“putative Class”, defined as:
    All participants of the ConAgra Brands, Inc. Pension Plan for Hourly Rate
    Production (the “ConAgra Plan”) who worked for Amfac Foods, Inc. (“Amfac”) for
    some time prior to June 8, 1988, and have retired or terminated with more than
    35 years of service, and have had all retirement income under the Amfac plan
    subtracted in the benefits formula under the ConAgra Plan even though that
    retirement income was partially earned on service not credited in the benefits
    formula under the ConAgra Plan.
        11. Numerosity. The putative Class is large in number; the exact number and

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identities of all putative Class members are currently unknown to Vicki, but are known
to Defendants. The number of putative Class members, who are individuals affected by
the Administrative Committee’s subtraction of all Prior AmFac Plan retirement income
earned from AmFac, part of which service was not credited by ConAgra, is believed to
be numerous, so that joinder of all putative Class members is impracticable. According
to the public files of the U.S. Department of Labor, the last annual report (IRS Form
5500) filed for the portion of the ConAgra Plan here at issue shows that at the beginning
of 2014 there were 2546 total participants, only 1333 active. Of the 1,213 inactive
participants, many could have retired or terminated with more than 35 years of service
and be affected by the maladministration of the Bargaining Unit Plan. See attached
Exhibit 2.
         12.      Commonality. There are questions of law or fact common to all members
of the putative Class concerning exclusively Defendants’ actions and entail consideration
of the Bargaining Unit Plan and ERISA provisions, uniformly applicable to all putative
Class members. Resolution of these questions will not require individual inquiry into the
actions or circumstances of individual Bargaining Unit Plan participants. These common
questions of law or fact center upon whether under the Bargaining Unit Plan as set forth
in the Plan Summary (Exhibit 1) provided to employees it is an abuse of discretion by the
Administrative Committee in reducing Bargaining Unit Plan benefits by amounts of Prior
Amfac Plan retirement income accrued from Disregarded Service. This issue applies to
all participants of the Bargaining Unit Plan who terminated or retired with more than
35 years of service with Amfac/Lamb‐Weston/ConAgra, due to the 35 Year Cap. This
could apply to anyone that retired or terminated since July 1, 2008.
         13.      Typicality. Vicki is a member of the putative Class as defined above. She
is affected by the improper application of Benefit Formula of the Bargaining Unit Plan as
described on pages 5‐7 of the Plan Summary (Exhibit 1) and she asserts the same claims


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and legal theories under the same provisions of ERISA and regulations promulgated
thereunder that all putative Class members possess with respect to the misapplication
of the described benefit formula.
         14.      Adequacy. Vicki will fairly and adequately protect the interests of the
absent members of the putative Class. Because her claim is typical of those of absent
members of the putative Class, Vicki has every incentive to vigorously pursue those
claims on behalf of absent putative Class members, and her interests coincide with, and
are not antagonistic to, those of the putative Class. Moreover, Vicki is represented by
counsel experienced in ERISA and complex litigation.
         15.      Rule 23(b)(1) Requirements.                  The prosecution of separate actions by
individual members of the putative Class would create the risk of inconsistent or varying
adjudications establishing incompatible standards of conduct for Defendants and a risk
of adjudications which as a practical matter would be dispositive of the interests of
other members of the putative Class who are not parties.
                                                V.          FACTS
A. The Bargaining Unit Plan
         16.      The ConAgra Plan is a defined benefit pension plan intended to provide
pension benefits to participants who work for ConAgra.
         17.      The Bargaining Unit Plan portion of the ConAgra Plan is a defined benefit
pension plan intended to provide pension benefits to participants who work or have
worked for ConAgra and previously worked for Lamb‐Weston, Inc. and/or Amfac Foods,
Inc. as well.
                  a)       The Benefit Formula is described on pages 6‐8 of the Plan Summary
         (Exhibit 1), under the heading “How is My Pension Benefit Calculated?”
                  b)       “[B]enefit service you earned under the [Prior Amfac Plan] is benefit
         service under” the Bargaining Unit Plan. Bottom of page 6 of the Plan Summary


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         (Exhibit 1), under the preceding heading “What is Benefit Service?” (italices in
         original).
                  c)       An eligible employee’s “monthly pension benefit is calculated
         according to a formula based on your years of benefit service (up to a maximum
         of 35 years)”. Bottom of page 5 of the Plan Summary (Exhibit 1), under the
         heading “How is My Pension Benefit Calculated?”.
                  d)       For those who were participants of the Prior Amfac Plan, the
         benefit determined per a rate table “will be offset by the monthly benefit
         amount payable from the [Prior Amfac Plan] on account of benefit service
         credited under” the Bargaining Unit Plan (emphasis added). Middle of page 7 of
         the Plan Summary (Exhibit 1), under the heading “How is My Pension Benefit
         Calculated?”.
                  e)       The “Sample Calculation” shown on pages 7‐8 of the Plan Summary
         (Exhibit 1) posit an employee having worked 38 years after December 31, 1973,
         i.e., through 2011.
                  f)       That Sample Calculation does not include nor show any credit for
         the years 1974‐1978 in the application of the Benefits Formula; just for years
         1979‐2011.
                  g)       As the offset for benefits paid from the Prior Amfac Plan is limited
         to that “on account of benefit service credited under” the Bargaining Unit Plan,
         the offset is limited on the example to Prior Amfac Plan benefit service from
         1979, and not due to benefit service from 1974‐1978.
                  h)       Following the calculation set forth in the example, the Plan
         Summary (Exhibit 1) provides that “[t]he maximum amount of benefit service
         used to calculate your monthly pension benefit is 35 years. If you have more
         than 35 years of benefit service, the last 35 years will be used to calculate your


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         benefit.”
                  i)       In the calculation as illustrated in the Sample Calculation in the Plan
         Summary (Exhibit 1), the Administrative Committee and the Appeals Committee
         give no credit for Disregarded Service with Amfac/Lamb‐Weston/ConAgra due to
         the application, yet offset benefits otherwise computed under the Bargaining
         Unit Plan that were earned during the Disregarded Service period.
                  j)       That Sample Calculation shows an offset or subtraction of $75 of
         Amfac benefit; it does not identify from which years working for Amfac, the
         benefit service for that hypothetical $75 was based.
         18.      Nowhere does the Plan Summary (Exhibit 1) specify and imply that there is
to be subtracted in the Benefits Formula the retirement income accrued under the Prior
Amfac Plan from the Disregarded Service period.
         19.      In applying the Benefits Formula, the Administrative Committee and
Appeals Committee do not give credit for Disregarded Service, i.e., for those participants
of the Bargaining Unit Plan with more than 35 years of service who had service with
Amfac from the time before June 8, 1988, but ignores some of their Amfac service when
applying the Benefits Formula due to the 35 Year Cap.
         20.      In light of the plain and simple language of Plan Summary (Exhibit 1) as
illustrated by the Sample Calculation, there should be no subtraction for retirement
income from the Prior Amfac Plan that accrued on Disregarded Service.
         21.      Nevertheless, in applying the Benefit Formula the Administrative
Committee and Appeals Committee have subtracted all retirement income paid from
the Prior Amfac Plan, even that portion of the Prior Amfac Plan retirement income that
accrued from service for which the Administrative Committee and Appeals Committee
give no credit in so applying the Benefits Formula, as illustrated by the Sample
Calculation in the Plan Summary (Exhibit 1).


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         22.      Consequently, a portion of Prior Amfac Plan retirement income subtracted
(as specified in ¶21.) is excessive (hereinafter, the “Excessive Subtractions”) and
contrary to the clear, unambiguous verbiage of the Plan Summary (Exhibit 1), including
the illustration of the Sample Calculation.
B. Vicki’s Claim, its Denial, Appeal and Appeal Denial
         23.      Vicki was employed and worked from October 7, 1974 for Amfac, then
Lamb‐Weston and finally ConAgra at a processing plant in American Falls, Idaho, until
November 9, 2016.
         24.      Vicki had 42 years of benefit service (1975‐2016) under the Bargaining
Unit Plan.
         25.      By reason of the 35 Year Cap, Vicki has seven years of Disregarded Service
(i.e., 1975‐1981).
         26.      Vicki is not given credit in the Benefits Formula, as illustrated by the
Sample Calculation in the Plan Summary (Exhibit 1)
         27.      Those seven years of Disregarded Service were 1975‐1981, leaving only
the 35 years of service from 1982‐2016 as being credited in the Benefits Formula.
         28.      Despite the Plan Summary (Exhibit 1) specifying that the only amount to
be offset/subtracted is the part of benefits paid by the Prior Amfac Plan “on account of
benefit service credited” under the Bargaining Unit Plan, the Administrative Committee
and Appeals Committee have reduced the benefits otherwise computed in the Benefits
Formula by ALL the retirement income accrued by and paid to Vicki under the Prior
Amfac Plan, even by the retirement income accrued during the years 1975‐1981 of
Disregarded Service. To the extent that the Prior Amfac Plan benefits were accrued over
the years 1975‐1981 of Disregarded Service, such is an improper, Excessive Subtraction
against Vicki’s benefits otherwise computed under the Benefit Formula of the
Bargaining Unit Plan. By reason of the Excessive Subtraction against Vicki’s benefits, the


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Administrative Committee and Appeals Committee have caused the Plan to pay and it
has paid less in benefits to Vicki than she is due under the Bargaining Unit Plan.
         29.      In light of the Plan Summary (Exhibit 1) and by reason of the Excessive
Subtraction, the Bargaining Unit Plan has failed and continues to fail to pay Vicki the full
measure of her benefits accrued and in which she is vested under the Bargaining Unit
Plan.
         30.      Vicki filed a claim pointing out the error of the Administrative Committee’s
application of the Benefit Formula by her July 20, 2017 claim letter (“Vicki’s Claim”),
which is attached as Exhibit 3, seeking the restoration of the Excessive Subtraction
against her benefits under the Bargaining Unit Plan.
         31.      For the ConAgra Plan, Ryan Egan, Vice President of Human Resources for
ConAgra Brands, Inc, denied Vicki’s Claim in a letter to Vicki dated September 13, 2017,
which is attached as Exhibit 4.
         32.      Egan admitted that as a fiduciary, the Administrative Committee has a
duty under ERISA to follow the specific terms of the ConAgra Plan.
         33.      Egan explained provisions from the wrong portion of the ConAgra Plan as
the basis for the denial; instead of the Bargaining Unit Plan portion, Egan referred to
provisions from the “Pension Plan for Hourly Non‐Bargaining Unit Employees of Amfac
Foods, Inc.” as the prior plan.
         34.      Egan incorrectly stated in his denial letter of September 13, 2017 that “the
number of years of service under the Prior [Amfac] Plan does not impact the 35‐year
maximum.”
         35.      As a justification for the decision not to honor Vicki’s Claim and continuing
to assert that the Excessive Subtraction against Vicki’s benefits, Egan also noted that as
a fiduciary, the Administrative Committee’s duty is to “administer” the terms of the
ConAgra Plan “consistently for all participants.”


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         36.      Egan did not make any mention or acknowledge that the Administrative
Committee’s fiduciary duties are to be discharged for ‘the exclusive purpose of
providing benefits to participants and their beneficiaries’ as required by 29 USCode
§1104(a)(1) (i.e., ERISA §404(a)(1)).
         37.      Vicki timely filed an administrative appeal to the ConAgra Brands, Inc.
Appeals Committee (“Vicki’s Appeal”), in which she stated that:
    I appeal that denial because it subtracts benefits [retirement income] I earned
    more than 35 years before my retirement. Since service more than 35 years
    earlier doesn't count in determining my benefits, retirement pay I earned more
    than 35 years ago should not reduce my benefits under this plan.
    If others before me have been wrongly denied their benefits, that is not
    justification for denying me mine.
         38.      For the ConAgra Plan, Ryan Egan, Vice President of Human Resources for
ConAgra Brands, Inc, explained that the Appeals Committee had denied Vicki’s Appeal
for a restoration of the excessively subtracted amount in a letter to Vicki dated
December 21, 2017, which is attached as Exhibit 5.
         39.      Egan stated in his appeal denial letter of December 21, 2017 that the
Excessive Subtraction “was properly applied in accordance with Section 4.02‐1 and
Appendix I” of the plan documents of again the wrong “Pension Plan for Hourly Non‐
Bargaining Unit Employees of Amfac Foods, Inc.” (and “Your benefit was calculated in
accordance with the Plan.”).
         40.      Egan again claimed that “the number of years of service under the Prior
[Amfac] Plan did not impact the 35‐year maximum.”
         41.      Egan again admitted in his December 21, 2017 appeal denial letter that as
a fiduciary, the Administrative Committee has a duty under ERISA to follow the specific
terms of the ConAgra Plan.
         42.      Reiterating the justification for the decision not to honor Vicki’s Claim for


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restoration of the Excessive Subtraction, Egan again noted that as a fiduciary, the
Administrative Committee’s duty is to “administer” the terms of the ConAgra Plan
“consistently for all participants.”
         43.      Egan did not make any mention or acknowledge that the Appeals
Committee’s fiduciary duties are to be discharged for ‘the exclusive purpose of
providing benefits to participants and their beneficiaries’ as required by 29 USCode
§1104(a)(1) (i.e., ERISA §404(a)(1)).
         44.      Never having acknowledged any understanding of Vicki’s position, Egan
cutoff further communications that might have led to resolving the dispute over the
claim and thus might have avoided the need for the litigation initiated by this complaint.
         45.      In bold font, Egan concluded the December 21, 2017 appeal denial
letter: “If you decide that you would like to further pursue this claim, you must bring a
civil action in federal court. No other communication with the Plan office will be
accepted on this matter.”
         46.      The members of the putative Class who have not made formal claims for
or sought to appeal from the denial of their claims for the Excessive Subtractions against
their benefits under the Bargaining Unit Plan are excused from pursuit of administrative
remedies based on futility.
                                      VI.          CLAIMS FOR RELIEF
COUNT I          Declaratory Judgment and Injunctive Relief—For Breach of ERISA
                 Fiduciary Duties by Subtracting Excessive Amounts From Benefits
                 Calculated Under Bargaining Unit Plan, Against All Defendants.
         47.      Vicki, for herself and for the putative Class, repeats and re‐alleges the
foregoing paragraphs as if fully set forth herein.
         48.      ERISA requires that fiduciaries discharge their “duties with respect to a
plan solely in the interest of the participants and beneficiaries” (ERISA §404(a)(1);


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29 U.S.C. §1104(a)(1))—
                  a)       “for the exclusive purpose of providing benefits to participants and
         their beneficiaries” (ERISA §404(a)(1)(A)(i); 29 U.S.C. §1104(a)(1)(A)(i)) and
                  b)       “in accordance with the documents and instruments governing the
         plan insofar as such documents and instruments are consistent with the
         provisions” of ERISA, Title I (ERISA §404(a)(1)(D); 29 U.S.C. §1104(a)(1)(D)).
         49.      The Excessive Subtractions are the result of a clearly erroneous application
of the Benefit Formula as explained in the Plan Summary (Exhibit 1) and illustrated by
the Sample Calculation.
         50.      The Administrative Committee went beyond the bounds of its discretion
(page 17 of the Plan Summary (Exhibit 1)), especially given the statutory injunctive that
the fiduciary duties be exercised in the sole interests of the participants and
beneficiaries, by unreasonably applying the Benefit Formula explained in the Plan
Summary (Exhibit 1) and illustrated by the Sample Calculation, by making the Excessive
Subtractions.
         51.      The Administrative Committee breached and continues to breach its
fiduciary duties imposed by ERISA §404 (29 U.S.C. §1104(a)(1)(A)(i) and (D)) in making
the Excessive Subtractions.
         52.      The Appeals Committee breached its fiduciary duties imposed by ERISA
§404 (29 U.S.C. §1104(a)(1)(A)(i) and (D)) by perpetuating the unreasonable application
of the Benefit Formula explained in the Plan Summary (Exhibit 1) and illustrated by the
Sample Calculation, by making the Excessive Subtractions.
         53.      As a result, Vicki seeks declaratory judgment that in light of the Plan
Summary (Exhibit 1) and its Sample Calculation illustration, ERISA does not permit the
Excessive Subtractions.
         54.      Vicki further seeks injunctive relief ordering Defendants to recalculate the


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benefits under the Bargaining Unit Plan for Vicki and each member of the putative Class
whose benefits are already in pay status who are entitled to restitution of the Excessive
Subtraction against his or her benefits under the Bargaining Unit Plan.
COUNT II         For Breach of Fiduciary Duty under ERISA §404 in Failing to Discharge
                 Their Duties ‘Solely in the Interest of the Participants and Beneficiaries’
         55.      Vicki, for herself and for the putative Class, repeats and re‐alleges the
foregoing paragraphs as if fully set forth herein.
         56.      ERISA §404(a)(1), (1)(A)(i) and (1)(D), 29 U.S.C. §§1104(a)(1), (1)(A)(i) and
(1)(D), provide that “a fiduciary shall discharge his duties with respect to a Plan solely in
the interest of the participants and beneficiaries and (A) for the exclusive purpose
of: (i) providing benefits to participants and their beneficiaries; … (D) in accordance with
the documents and instruments governing the plan insofar as such documents and
instruments are consistent with the provisions of” ERISA, Title I.
         57.      Other than the ConAgra Plan itself, the Defendants are ERISA Plan
fiduciaries, and in setting policies, determining benefits and otherwise making decisions
for the application of the benefit calculation under the Benefit Formula explained in the
Plan Summary (Exhibit 1) and illustrated by the Sample Calculation when making the
Excessive Subtractions, such Defendants breached their duties under ERISA §404(a)(1),
29 U.S.C. §§1104(a)(1) to the participants and beneficiaries of the Bargaining Unit Plan
by deciding to make and perpetuating the Excessive Subtractions against the benefits
otherwise calculated under the Bargaining Unit Plan.
         58.      As a result, Vicki seeks declaratory and injunctive relief consisting of an
order invalidating the Excessive Subtractions against the benefits of Vicki and putative
Class members under the Bargaining Unit Plan.
         59.      Vicki further seeks injunctive relief ordering Defendants to reinstate
benefits, both for herself and each member of the putative Class, under the Bargaining


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Unit Plan to the extent wrongly and excessively subtracted due to Prior Amfac Plan
retirement income earned from service not counted in the benefits computation under
the Bargaining Unit Plan. Vicki also seeks reinstatement and restitution of benefits
equal in amount to the Excessive Subtractions from benefit payments already made,
which have wrongfully been withheld from Vicki and the members of the putative Class.
                                     VII.          PRAYER FOR RELIEF
WHEREFORE, Vicki prays that this Court enter judgment as follows:
A. Certifying this action as a class action;
B. Declaring that it was an abuse of discretion for and breach of fiduciary duty by the
Administrative Committee (as well as Does I‐XX serving on that committee) to make the
Excessive Subtractions in calculating the benefits of participants under the Bargaining
Unit Plan;
C. Declaring that it was an abuse of discretion for the Appeals Committee (as well as
Does I‐XX serving on that committee) to affirm the clearly erroneous denial of Vicki’s
claim made July 20, 2017 for the Excessive Subtraction against her benefits under the
Bargaining Unit Plan;
D. Ordering Defendants to (re‐)calculate the benefits of Vicki and putative Class
members pursuant to the Bargaining Unit Plan without the Excessive Subtractions;
E. Ordering Defendants to provide make‐whole payments plus interest to Vicki and
each putative Class member already receiving pension benefits from the Bargaining Unit
Plan;
F. Awarding Vicki
    (1) costs, disbursements and expenses herein;
    (2) reasonable attorneys’ fees; and
G. Awarding the putative Class such other and further relief as the Court may deem
just, proper and equitable.


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                                                                          DATED: 6.18.2018

John Simmons
An attorney for Vicki Michael




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Pension Summary Plan Description
January 1,2013
LWBAR
American Falls, ID




                                                        (JJ ConAgra Foods       Food you love


    Esta Descripcion Resumida del Plan contiene un resumen en idioma ing/es de los derechos y
    beneficios que otorga el Plan de Pensiones. De encontrar dificultades en la comprension de cualquier
    parte de esta Descripcion Resumidci del Plan, solicite asistencia a su Departamento de Recursos
    Humanos local.
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How To Use This Summary Plan Description (SPD)
This Summary Plan Description (8PD) booklet is designed to provide an easy way to reference information
about the Pension Plan for Hourly Bargaining Unit Employees of Lamb-Weston, Inc. In it, you will find:
   • Plan Highlights This section provides specific information about who is eligible to participate in
     the pension plan and plan highlights.
   • Benefit Descriptions This section provides specific information about the plan.
   • Administrative Information This section provides details about the administration of the plan as
     well as your rights as a participant.
Please take some time to familiarize yourself with your plan SPD. To use this booklet, it is best to look in
the Plan Highlights and Benefit Description sections for the most complete information about your pension
plan. If you have any questions regarding your plan after reading this booklet, please contact the Pension
Service Center.
Participation in the pension plan does not give you the right to continued employment with the Company,
nor does it entitle you to benefits, except as provided by the plan.
This SPD describes the plan as amended through January 1,2013.

Plan Document
This booklet describes the Pension Plan for Hourly Bargaining Unit Employees of Lamb-Weston, Inc.
This booklet is not intended to be legally binding. If the terms and conditions described in this booklet and
the provisions of the plan document do not agree, the plan document will govern.

About The Plan
The pension plan can help provide a regular mont~ly income after you retire.
Your pension benefits - together with other sources of retirement income - can replace part or all of
your pre-retirement income so you can enjoy a similar standard of living as before retiring.
The Company pays the full cost of your pension plan.




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Plan Highlights
This section provides plan highlights - please refer to the Benefit Descriptions section for full details and
additional information about the pension plan.

Plan LWBAR - American Falls, ID

                                           PLAN mGHLIGBTS
                                    (See Benefit Descriptions for Details)

EUgibility                    The pension plan is provided for hourly union paid employees ofConAgra Foods
                              at the Lamb-Weston, Inc. American Falls, Idaho location who are members of the
                              collective bargaining unit represented by the union and who have completed 1,000
                              hours of service during (i) their first 12 months of employment or (ii) any calendar
                              year following their date of hire.
                              Note: If you would like a list of all other classes of participants who are eligible
                              for different benefits under the pension plan, contact the Pension Service Center.
                              (See the Administrative Information section for contact information.)

When You Can Receive
                                  • Normal Retirement: You can begin receiving your pension benefit
Your Pension Benefit
                                    following your normal retirement date - age 65.
                                  • Early Retirement: Reduced benefits may begin as early as age 55 if you
                                    have at least ten years of vesting service when you terminate employment.
                                  • Disability Retirement. If you cannot work on account of a disability
                                    qualifYing you for Social Security benefits and have ten years of vesting
                                    service, you can begin receiving a disability pension.
                                  • Deferred Vested Retirement: If you are vested in the pension plan (five
                                    years of vesting service) and leave the Company before age 65, you will be
                                    entitled to receive a deferred vested benefit at age 65. If you have ten or
                                    more years of vesting service when you terminate employment, reduced
                                    deferred vested pension payments may begin as early as age 55.
                                  • No  pension is paid if you are not vested at the time you leave ConAgra
                                    Foods.

 How Your Pension Is Paid      Your benefit may be paid as:
                                   • A monthly pension for your life;
                                   • A pension for your life, and a reduced pension (either 50%,662/3,75% or
                                     100% of your monthly pension) for your designated beneficiary; or
                                   • If you select early retirement, an annuity that pays a larger benefit before
                                     the date you may first receive Social Security benefits and a reduced benefit
                                     after Social Security benefits commence, in order that your combined pension
                                     and Social Security payments are approximately level through your
                                     retirement.
                               If the single lump sum value of your benefit is $5,000 or less, you may also elect
                               to receive it as a single lump sum payment.




 2                                                                     LWBAR - American Falls, ID - Plan Year 2013
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                                               PLAN HIGHLIGHTS
                                    (See Benefit Descriptions for DetaUs)

Survivor Benefits
                                  • If you die after you retire, the survivor benefit (if any) your beneficiary may
                                    receive is the one available under the pension benefit fonn you selected.
                                  • If you die before your pension commences, and you are either (i) actively
                                    employed by ConAgra Foods, Inc. or (ii) a vested tenninated participant,
                                    your designated beneficiary may receive a lump sum death benefit from the
                                    plan.
                                  • If you die before retirement, but with less than ten years of vesting service
                                    your spouse may receive a survivor pension benefit after your 65th birthday.
                                  • If you earn ten or more years of vesting service before you die, your spouse
                                    may begin receiving survivor pension benefits on the later of the first day
                                    of the month that follows your death or your 55th birthday.




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Benefit Descriptions
This section gives you detailed descriptions of the pension plan.

What Does The Plan Do?
When you retire, you'll need to replace part or all of your pre-retirement income to maintain the standard
of living you enjoyed before retirement. For most people, this targeted retirement income will probably
come from three sources:
     • Your personal savings and investments.
     • Your Social Security benefit.
     • The benefit you may earn from the pension plan.
The pension plan can help provide a regular monthly income after you retire. The Company pays the
entire cost of the plan.
The amount of your pension benefit will depend on your length of benefit service, the monthly benefit
rates applicable for your years of benefit service, your age at retirement and the form of payment you select.

When Am I Eligible To Participate?
To participate in the plan. and receive the benefits described in this summary, you must be employed by
the Company at its American Falls, ID facility and be an hourly paid employee who is a member ofthe
collective bargaining unit represented by the Teamsters Local #983.
You are eligible to participate in the plan on the first day of the month following:
     • the anniversary of your date of hire after the completion of 1,000 hours of service in the first twelve
       months of employment, or
     • if the above is not satisfied, the January 1st following the completion of 1,000 hours of service in a
       calendar year.
You will be automatically enrolled in the plan at the time you become eligible to participate.

What Is Vesting?
The word vested can refer to you or your pension benefit. When you are vested, or when your pension
benefit is vested, means you have been with the Company long enough to receive a pension benefit from
the plan.
You will become vested in your pension benefit after five years of vesting service or, if you are still actively
employed by a ConAgra Foods Company, when you reach age 65. Keep in mind that you must have
satisfied the plan's eligibility requirements before you are vested.
If you leave the Company after your pension benefit is vested, you will be eligible to receive a pension
benefit when you reach age 65.
If you leave the Company before your pension benefit is vested, you will forfeit your pension benefit.




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What Is Vesting Service?
You begin accumulating vesting service as soon as you start working for a ConAgra Foods Company.
Your years of vesting service are used to determine when:
   • your pension benefit is vested; and
   • you are eligible to receive benefits.

How Do I Earn Vesting Service?
You earn one year of vesting service for each calendar year of employment with a ConAgra Foods Company
in which you workl,OOO hours. If you work less than 1,000 hours, but at least 500 hours, you will receive
a partial year of service determined by dividing your hours worked by 1,000. For years prior to January 1,
1991, no partial year of service is credited if less than 1,000 hours.
For employment prior to June 8, 1988, you receive vesting service equal to the vesting service credited
under the Pension Plan for Hourly Bargaining Unit Employees of Amfac Foods, Inc.
You begin earning vesting service on the day you are hired and you will accumulate vesting service for as
long as you work for a ConAgra Foods Company. If you leave ConAgra Foods, however, a break in service
may occur.

Determining an Hour of Service
An hour of service includes:
    • Hours, whether or not worked, for which you are directly or indirectly paid or entitled to payment.
    • Regularly scheduled hours during a military or FMLA leave of absence (provided you return after
      the end of the leave).
    • Regularly scheduled hours ofleave when an individual is receiving payments from ConAgra Foods,
      Inc. or from an insurance company under ConAgra Foods' short-term or long-term disability plans.
    • Hours covered by a back pay award or agreement, regardless of mitigation of damages, unless
      already counted.
    • Hours paid for at or after termination of employment for, disability, layoff or jury duty or unused
      vacation, holiday or sick leave.
Generally the hours described above will count as vesting service, and, with the exception ofFMLA leave,
will count as benefit service, as long as the hours were earned while you were a participant in the Plan and
a member of the collective bargaining unit covered by the plan.

Determining A Break In Service
A break in service occurs when you work less than 501 hours in a calendar year.
A five-year break in service occurs when you have five consecutive one-year breaks in service. However,
a one-year break in service will not be counted as part of the five-year break in service if:
       nours or servIce m the pnor year equal bUU or more, or



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      • you have at least 7,500 hours of benefit service and your hours of service in the year plus your hours
        of service in the prior two years equal 600 or more.
If you leave ConAgra Foods after your pension benefit is vested, and you return to work later, you will
begin earning vesting service on the first day you return to work.
If you leave ConAgra Foods before your pension benefit is vested and return to work after you have a
break in service, the vesting service you had accumulated before the break in service will be reinstated if
you return to work before incurring a five-year break in service, in that case you will be eligible to participate
in the plan as a new employee after again satisfying the eligibility requirements.
A one-year break in service will not begin until the second plan year in which you work less than 501 hours
due to an authorized absence from work due to:
      •   your pregnancy;
      •   the birth of your child;
      •   your adoption of a child; or
      •   caring for your child after birth or adoption.

 What Is Benefit Service?
 Benefit, not vesting, service will be used to determine the amount of your pension benefit.
 You earn one year of benefit service for each calendar year of employment in which you work at least
 1,000 hours. If you work less than 1,000 hours, but at least 500 hours, you will receive a partial year of
 service determined by dividing your hours worked by 1,000. If you work less than 500 hours in a year,
 you receive no partial year of benefit service except in the year or retirement, disability or death. For years
 before 1991, the requirement for a full year of benefit service was 1,875 with partial credit with at least
 1,000 hours. In limited circumstances you may also receive prorated credit upon rehire after a break in
 service.
 You do not receive benefit service for employment prior to becoming a participant in the plan or if you
 transfer to a position or location not covered under the plan.
,,!Iowever,.,benefit service you earned under the prior plan (Pension Plan for Hourly Bargaining Unit
, .Employees of Amfac Goods, Inc.) is benefit service under this plan.
 The maximum amount of benefit service used to calculate your pension benefit is 35 years.
 Benefit service does not include any employment BEFORE July 1, 1973.

 How Is My Pension Benefit Calculated?
 The amount of your monthly pension benefit is calculated according to a formula based on your years of
 benefit service (up to a maximum of35 years) and the monthly benefit rate, both shown below.
                                Monthly Benefit Rates x Benefit Service
                                               EQUALS
                                       Monthly Pension Benefit




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For Benefit Service Earned                              The Monthly Benefit Rate Is
Before January 1, 1975                                  $4.00
                                                                       'Tf'I,v   "7   2() J~   ~+o JJlf¢~                    i'0'1.b

January 1,1975 to December 31, 1976                     $6.00                -" I,'
                                                                         ~/-"{
                                                                                                  ..... ,
                                                                                                        ~-




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                                                                                        Olc~,    -:;:',:. ':'; .<.) ~., '\
January 1, 1977 to December 31, 1978                    $7.20
January 1, 1979 to December 31, 1982                    $8.20
January 1, 1983 to December 31, 1983                    $10.00
January 1, 1984 to December 31, 199h                    $11.00
January 1, 1992 to December 31, 1994                    $12.00
January 1, 1995 to December 31,1997                     $14.00
January 1, 1998 to December 31, 2000                    $16.00
January 1,2001 to December 31,2005                      $18.00
January 1, 2006 to December 31, 2006                    $23.00
January 1,2007 to December 31, 2011                     $24.00
On and after January 1,2012                             $27.00

Uyou were a participant of the prior plan (Pension Plan for Hourly Bargaining Unit Employees of
Amfac Foods, Inc.), the benefit determined above will be offset by the monthly benefit amount payable
from the prior plan on account of benefit service credited under this plan. Your benefit will be
rounded up to the next highest 50 cents, if not already an even multiple of 50 cents.

Sample Calculation

Now, let's see how this fonnula works. Well calculate the monthly pension benefit for an employee retiring
at age 65 with 38 years of service after December 31, 1973 and an Amfac benefit of $75.00:
                      4 years of benefit service from 1979 to 1982 x $8.20 = $32.80
                                                     PLUS
                             1 year of benefit service for 1983 x $10.00 = $10.00
                                                     PLUS
                   8 years of benefit service from 1984 through 1991 x $11.00 = $88.00
                                                     PLUS
                   3 years of benefit service from 1992 through 1994 x $12.00 = $36.00
                                                     PLUS
                   3 years of benefit service from 1995 through 1997 x $14.00 = $42.00
                                                     PLUS
                   3 years of benefit service from   19..9S~hroUi~:h   2000 x $1 h.OO == $4ROO


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                  5 years of benefit service from 2001 through 2005 x $18.00 = $90.00
                                                    PLUS
                           1 years of benefit service for 2006 x $23.00 = $23.00
                                                   PLUS
                  5 years of benefit service for 2007 through 2011 X $24.00 = $120.00
                                                EQUALS
                                     Total Monthly Pension = $489.80
                                                MINUS
                                          Amfac benefit = $75.00
                                            EQUALS
                      Monthly Pension Benefit payable from this plan = $414.80
                                      (rounded up to $415.00)
The maximum amount of benefit service used to calculate your monthly pension benefit is 35 years. If you
have more than 35 years of benefit service, the last 35 years will be used to calculate your benefit.
NOTE: This example is intended to illustrate in general terms how a monthly pension benefit is calculated.
Actual calculations may vary.

What Is Normal Retirement?
The plan's normal retirement age is 65. If you retire when you reach age 65, you may begin receiving
benefits on the first day of the month that falls on or follows your 65th birthday. If you retire after age 65,
benefits can begin on the first day of the month that falls on or follows your retirement.

What Is Early Retirement?
You may not want to wait until age 65 to retire. If you are from 55 through 64 years of age and have ten
or more years of vesting service with a ConAgra Foods Company, you are eligible to take early retirement.
If you elect early retirement, your pension benefit can begin on the first day of any month that falls on or
follows your retirement date.
Bear in mind that the monthly pension benefit you'll receive if you begin receiving benefits early is less
than the monthly pension benefit you'll receive if you begin receiving benefits at or after age 65. The
amount of your early retirement benefit will be less than the amount of your normal retirement benefit
because you will complete fewer years of service. Another reason early retirement benefits are lower than
normal retirement benefits is that the benefit payments for someone who retires early are expected to be
received over a longer period of time.
Here is a chart that shows the percentage of your accrued benefit you can receive if you retire from the
Company after age 55 and have completed at least ten years of vesting service and you elect to receive
your benefits before age 65.




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When Benefits Begin At Age                             Percentage You Receive*
65                                                     100.0%
64                                                     100.0%
63                                                     100.0%
62                                                     100.0%
61                                                     92.8%
60                                                     85.6%
59                                                     78.4%
58                                                     71.2%
57                                                     64.0%
56                                                     59.2%
55                                                     54.4%

*For fractional ages, the above values are adjusted.
Your benefit will be rounded up to the next highest 50 cents, if not already an even multiple of 50 cents.

Sample Calculation

Now, let's see how these factors apply. From the earlier example, we will assume the participant is age 59
and all other factors are unchanged. We'll calculate the monthly pension benefit payable assuming the
employee begins receiving benefits at age 59.
                              $415 x .784 = $325.36 (rounded up to $325.50)
NOTE: This example is intended to illustrate in general terms how a monthly pension benefit is calculated.
Actual calculations may vary.

What Happens If I Leave ConAgra Foods Before I Can Retire?
If you leave ConAgra Foods before you reach age 65 and before you have completed five years of vesting
service, you are not eligible to receive a pension benefit.
But, if you leave the Company before you're age 65 and after you're vested in your pension benefit (after
you have completed five years of vesting service), you are eligible to receive a deferred vested pension
benefit when you reach age 65.
If you have completed at least ten years of vesting service when you leave the Company, you may receive
a reduced pension payable as early as the first of the month following your 55th birthday.
A deferred vested pension benefit is not paid to you when you leave the Company. Instead, it is deferred,
or postponed, until you reach age 65 or, if you are eligible and you elect, as early as age 55.




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The following chart shows the percentage of your accrued benefit you will receive if you leave the Company
before age 55 and after completing at least ten years of vesting service and you elect to receive your benefits
before age 65.
 When Benefits Beain At Age                             Percentage You Receive*
 65                                                     100.0%
 64                                                     92.8%
 63                                                     85.6%
 62                                                     78.4%
 61                                                     71.2%
 60                                                     64.0%
 59                                                     59.2%
 58                                                     54.4%
 57                                                     49.6%
 56                                                     44.8%
 55                                                     40.0%

 *For fractional ages, the above values are adjusted.
 Your benefit will be rounded up to the next highest 50 cents, if not already an even mUltiple of 50 cents.

 What Happens If I Become Disabled?
 If you cannot work because of an illness or injury, you may receive a disability pension benefit. To be
 eligible you must meet all of the following requirements:
       • Complete ten years of vesting service.
       • Receive a disability benefit under the V.S. Social Security Act.
 Disability pension benefits begin on the first day of the month following disability. The amount of the
 disability pension benefit will be equal to 55% of your accrued benefit as calculated as of the date you
 terminate or retire from the Company, but will be reduced by the amount of any monthly worker's
 compensation payment (to the extent such payments are not already offset against your Social Security
 disability pension). If you are age 55 at the time you qualify for disability retirement, you may choose
 between the disability pension or taking early retirement. If you take the disability benefit, you can elect
 at any time to stop and take the early retirement benefit, if you qualify.
 If you cease to receive disability benefits under the V.S. Social Security Act before your normal retirement
 date, disability pension benefits under the plan will also cease and additional benefits, if any, will be paid
 as otherwise provided under the plan. Your disability pension will cease at age 65, and you will become
 eligible for a normal retirement pension based on the pension you accrued at the time you became disabled .
. Your disability retirement benefit will be rounded up to the next highest 50 cents, ifnot already an even
  multiple of 50 cents.


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Getting Ready To Retire
As you near retirement. you will want to consider your various sources of retirement income to be sure
you will be able to maintain your standard ofliving when you are no longer working. This includes not
only your ConAgra pension plan, but also other sources of savings (such as any Company savings plan
you may participate in) and your Social Security benefit. (You can request an estimate of your Social
Security benefit by visiting, writing or telephoning your local or regional Social Security Administration
office, or visiting www.ssa.gov.)
If you are thinking of retiring in the next year, IRS rules state that you must receive a written estimate
of your ConAgra pension benefit 30 to 90 days before the date your benefit payments are to begin. You
must call the ConAgra Foods Pension Service Center 60 to 90 days before your scheduled retirement
date to ensure that this timing requirement can be met. Within 30 days of your call, the Pension Service
Center will mail you a retirement packet for you to review and complete.
Call the Pension Service Center at 1-800-872-2257 between 8 a.m. and 4:30 p.m. Central time.

What Are My Payment Options?
The payment options available when you retire depend on the actuarial value of your pension benefit.
If the actuarial value of your benefit is $5,000 or less, you may elect to receive this amount in a single
lump sum payment. Or, regardless of the value of your benefit, you may choose any of the following
annuity payment options. An annuity is a payment made to you at a regular interval, such as at the beginning
ofamonth.
Annuity options available through this pension plan are paid monthly. This chart outlines the payment
options available when you retire.

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With This Option                                    Your Benefit Is Paid In This Manner
Life Annuity                                        You wiH receive the monthly pension benefit for as long
                                                    as you live. When you die, all payments will stop; no
                                                    money is paid to your spouse or a beneficiary.
50% Joint and Survivor Annuity                      You will receive a reduced monthly pension benefit for
                                                    as long as you live. After you die, your surviving
                                                    beneficiary will receive one-half ofthe monthly pension
                                                    benefit you were receiving for the rest of his or her life.
                                                    The amount of the pension benefit will be determined by
                                                    your age and the age of your beneficiary when benefits
                                                    begin.
66-2/3% Joint and Survivor Annuity                  You will receive a reduced monthly pension benefit for
                                                    as long as you live. After you die, your surviving
                                                    beneficiary will receive two-thirds of the monthly pension
                                                    benefit you were receiving for the rest of his or her life.
                                                    The amount of the pension benefit will be determined by
                                                    your age and -the age of your beneficiary when benefits
                                                    begin.
75% Joint and Survivor Annuity                      You will receive a reduced monthly pension benefit for
                                                    as long as you live. After you die, your surviving
                                                    beneficiary will receive three-fourths of the monthly
                                                    pension benefit you were receiving for the rest of his or
                                                    her life. The amount of the pension benefit will be
                                                    determined by your age and the age of your beneficiary
                                                    when benefits begin.
100% Joint and Survivor Annuity                     You will receive a reduced monthly pension benefit for
                                                    as long as you live. After you die, your surviving
                                                    beneficiary will receive the same monthly pension benefit
                                                    you were receiving for the rest of his or her life. The
                                                    amount of the pension benefit will be determined by your
                                                    age and the age of your beneficiary when benefits begin.
Social Security Level Income Option                 This option is available if you retire from active
                                                    employment with the Company and begin benefits before
                                                    age 62. You will receive a monthly pension benefit for
                                                    as long as you live. The amount of the monthly benefit
                                                    you receive before age 62 will be larger than the monthly
                                                    amount payable after age 62. The difference between the
                                                    two amounts is your estimated Social Security benefit
                                                    payable at age 62. This option provides an approximately
                                                    constant total retirement income (pension and Social
                                                    Security) both before and after your Social Security
                                                    begins.

Special Note: If you designate a beneficiary other than your spouse and your beneficiary is more than 10
years younger than you, you may not be permitted to elect a 100%, 75% or 66-2/3% joint and survivor



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annuity. This is due to a federal pension rule that limits the total amount of benefits that may be paid to
non-spouse beneficiaries. You will be advised if you are affected by this rule.
Amounts Payable Under Various Forms of Payment
The different payment forms are designed to produce "actuarially equivalent" benefits. What this means
is that each form of payment is intended to payout the same amount of benefits in total, based on average
life expectancies.
If you receive your benefit in the form of a joint and survivor annuity, your monthly pension will be
actuarially reduced to reflect the fact that your benefits may be paid over two lifetimes. The amount of
your reduction will be based on your age and your beneficiary's age when payments begin, and on your
life expectancies.
The Pension Service Center will give you the dollar amounts of the various pension options upon request
or when you get ready to commence your benefits. This information is included in the retirement packet
you receive from the Pension Service Center when you notifY ConAgra that you plan to retire (see" Getting
Ready To Retire").

What Happens If I Return to Work After I Retire?
If you retire, begin receiving your pension benefits, and then return to work for a ConAgra Foods Company:
    • You will continue to receive your pension benefit while you work, as well as a paycheck.
    • Then when you retire, your pension benefit may be adjusted to reflect:
               • the additional service you earned after you returned to work, and
               • the amount of benefit you already have received.

If you are rehired after a termination of employment, but have not yet begun receiving pension benefits,
you will not be eligible to begin receiving a pension until your subsequent normal or early retirement date.

What Happens To My Pension Ifl Die?
If you die before you are vested or if you die before your pension benefit payments begin and you are not
married at the time of your death, no pension benefit is paid.
If you die before your pension benefit payments begin, your spouse may be eligible to receive a survivor
pension benefit. The survivor pension benefit is payable provided you have completed at least five years
of vesting service or you are actively employed by a ConAgra Foods Company at age 65 or older (you are
vested).
If you are eligible for early retirement when you die, your surviving spouse can begin receiving reduced
benefits immediately.
If you are not eligible for early retirement when you die, your spouse can begin receiving benefits on the
first day of the month that falls on or follows your 65 thbirthday or, you have ten years of vesting service
when you die and your spouse elects, as early as the first day of the month that falls on or follows your
55 th birthday.




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If the actuarial value ofthe surviving spouse benefit is $5,000 (or the maximum permitted by law) or less,
your surviving spouse may elect to receive this amount in a single lump sum payment. Ifthe actuarial value
of the surviving spouse benefit is greater than $5,000, monthly benefits will be paid to your spouse in the
form of a Life Annuity.
The amount of the survivor pension is the benefit that would have been payable to your spouse had you
begun receiving payments under the 50% Joint and Survivor Annuity payment option on the day before
your death or, if later, on the first day you could have elected for benefits to begin. This means that your
qualifying spouse will receive one-half of the 50% Joint and Survivor Annuity benefit you would have
received if you had lived.
If you die after you retire and have begun receiving a monthly pension benefit, any surviving beneficiary
will be entitled to receive only the benefits that are payable in accordance with the terms of the payment
option you selected.
In addition to the survivor benefits described above, if you die while a participant and actively employed
or if you are a vested terminated participant and have not started receiving pension benefits, your beneficiary
will receive a lump sum death benefit upon your death.
The amount of the lump sum death benefit is the lesser of:
      • your hours of benefit service (up to a maximum of 1,875 hours per year) times the death benefit per
        hour of benefit service rate from the table below; and
      • the maximum death benefit from the following table.

 For Benefit Service Earned           The Death Benefit per Hour of       The Maximum Death Benefit Is
                                      Benefit Service Is
 Before 11111975                      $.05                                 $2,100
 11111975 to 12/3111976               $.075                                $3,150
 11111977 to 12/31/1978               $.10                                 $3,780
 11111979 to 1213111982               $.16                                 $4,305
 11111983 to 12/3111983               $.20                                 $5,250
 11111984 to 12/3111991               $.22                                 $5,775
 11111992 to 12/31/1994               $.24                                 $6,300
 11111995 to 12/31/1997               $.28                                 $7,350
 1/111998 to 12/3112000               $.32                                 $8,400
 11112001 to 12/3112005               $.36                                 $9,450
 11112006 to 12/3112006               $.46                                 $12,075
 On or after 111/2007                 $.48                                 $12,600




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What About Taxes?
Generally, your benefit from the pension plan is taxable when you receive it. If you receive monthly pension
payments, federal income taxes are withheld from each monthly payment unless you elect to have no taxes
withheld.
If you leave the company and are eligible for and elect to receive a single lump sum distribution of pension
benefits of $5,000 or less, you have a number of options.
If your benefits are distributed in a lump sum payment, you may defer paying taxes on your distribution
if you "directly roll it over" into an individual retirement account (IRA) or another eligible employer plan.
Payments lasting for your lifetime, andlor your beneficiary's lifetime, are not eligible to be directly rolled
over. A direct rollover means that the money is not paid to you, but is instead directly paid to the other
retirement plan or IRA. A direct rollover can be done by mailing the check to the trustee of the receiving
plan payable to the trustee (not you).
If you do not roll over a lump sum payment, 20% of it will be withheld for federal income taxes. In addition,
if you are age 55 in the year in which you terminate employment and receive payment before you reach
age 59Y2, your lump sum payment may be subject to an additional 10% federal income tax penalty for early
distribution. This penalty tax is in addition to ordinary income taxes.
Under current tax laws you may also roll over a lump sum payment to a Roth IRA. However, you will
have to pay taxes on the amount rolled over.
Tax laws are complex and change frequently. When you request a distribution, you will receive the
applicable forms and, if you are eligible for a lump sum payment, a Special Tax Notice that will describe
the tax treatment of your distribution and your rollover rights. Neither the Plan Administrator nor the
Company can provide tax advice. Therefore, you should seek independent tax advice from a qualified tax
advisor prior to making a distribution election.

Glossary Of Terms
An accrued benefit is the monthly benefit payable at the to you at your 65th birthday, based on your
current years of benefit service and the current benefit rates.
Actuarial value is the current worth of a series of payments payable in the future. The actuarial value is
determined by discounting the future payments at a specified interest rate and takes into account life
expectancy.
An annuity is an amount of money that is payable monthly or at other regular intervals. It also can refer
to a contract or agreement providing for the payment of an annuity.
Administrative Information, this section provides required information about the administration of the
ConAgra Foods Pension Plan, as well as your rights as a participant.
Disability means a condition which qualifies you for a disability award under the Federal Social Security
Act. If you cease to be considered disabled for purposes of receiving Social Security disability benefits,
you will not be considered disabled for purposes of the Plan.
ERISA is the Employee Retirement Income Security Act of 1974. ERISA was enacted to ensure that
employees receive the pension and other benefits promised by their employers. ERISA also incorporates


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and is tied to provisions of the Internal Revenue Code (IRC) designed to encourage employers to provide
retirement benefits and other benefits to their employees.
Pension is the monthly income from the plan paid to retired ConAgra Foods employees and, under certain
circumstances, their beneficiaries. The amount of pension you receive depends upon your participation in
the plan, your length of service, your earnings, your age at retirement and the form of payment you select.
Pension Benefit Guaranty Corporation (PBGC) is the federal agency, established as a nonprofit
corporation, charged with administering the plan termination provisions of ERISA Title IV and the
Multiemployer Pension Plan Amendments Act of 1980. Employers pay premiums to the PBGC, which
guarantees benefits up to a specified maximum for participants and beneficiaries when defined benefit
plans terminate.
Surviving Spouse means the surviving wife or husband of a deceased participant whose pension had not
yet begun.
Vested can refer to you or your pension benefit and means you have been with the Company long enough
to be entitled to receive a pension benefit from the plan. You will become vested in your pension benefit
after five years of vesting service or, if you are still actively employed by a ConAgra Foods Company,
when you reach age 65. Keep in mind that you must have satisfied the plan's eligibility requirements before
becoming vested. If you leave the Company after your pension benefit is vested, you will be eligible to
receive a pension benefit at retirement. If you leave the Company before your pension benefit is vested,
you may forfeit your pension benefit.




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Administrative Information
This section provides required information about the administration of the Pension Plan for Hourly
Bargaining Unit Employees of Lamb-Weston, Inc, as well as your rights as a participant.

Plan Sponsor

The Plan Sponsor is: ConAgra Foods, Inc.
The Plan Number is: 203
The Internal Revenue Service Employer Identification Number (ElN) is: XX-XXXXXXX
The plan is a defined benefit plan.

Plan Administrator

The Plan Administrator is the ConAgra Foods Employee Benefits Administrative Committee, located at:
ConAgra Foods, Inc.
Employee Benefits Administrative Committee
One ConAgra Drive
Omaha, NE 68102-5001
(402) 240-4000
The Employee Benefits Administrative Committee, or its designee, as the Plan Administrator, shall have
the sole discretion and authority to control and manage the operation and administration of the plan. The
Employee Benefits Administrative Committee, or its designee, shall have complete discretion to interpret
the provisions of the plan, make findings of fact, correct errors, supply omissions, and determine the benefits
payable under the plan. All decisions and interpretations of the Employee Benefits Administrative
Committee, or its designee, made in good faith pursuant to the plan shall be final, conclusive and binding
on all persons, subject only to the claims procedure, and may not be overturned unless found by a court to
be arbitrary and capricious.

Contributions And Assets

The plan is funded by ConAgra Foods, Inc. through a trust with the following trustee:
State Street Bank and Trust Company
225 Franklin Street
Boston, MA 02110
The contributions ConAgra Foods makes to the plan are determined actuarially on an annual basis.

Plan Year

The plan is operated over the 12-month period ending each December 31st.




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Service Of Legal Process

Any legal process or document relating to the Plan should be delivered to:
ConAgra Foods, Inc.
Employee Benefits Administrative Committee
One ConAgra Drive
Omaha. NE 68102-5001
Service of legal process also may be made upon the Plan Administrator or Trustee.

Amendment Or Termination

Although it is expected that the plan continue indefinitely. ConAgra Foods, Inc. does have the right to
amend or terminate any part of the plan at any time. Also, the Pension Benefit Guaranty Corporation
(PBGC) - which guarantees payment of a portion of your benefits - may terminate the plan if:
      • it doesn't meet the minimum funding standards;
      • it can't pay pension benefits when due; or
      • the plan is in such a condition that it would increase the PBGC's liability if the plan was continued.
There are also certain circumstances which could result in the plan being partially terminated. You will be
notified of the termination or any partial termination of the plan.
If the plan is terminated, your accrued pension benefits will be fully vested and nonforfeitable to the extent
then funded. Only those participants affected by a partial termination ofthe plan will have fully vested and
nonforfeitable accrued pension benefits.
If the plan assets at the time of termination are not sufficient to pay all benefits, the pension benefits then
payable will be only those pension benefits which can be paid from the plan assets or which are guaranteed
by the PBGC. Plan assets will be allocated to the payment of accrued benefits according to the rules
contained in the plan and ERISA. The first group entitled to receive plan assets is those participants receiving
or entitled to receive benefits as of the date three years before the plan termination date.
Benefits may be provided by continuation of the trust, purchase of a group annuity contract or individual
annuity contracts, or by any other method approved by the Plan Administrator. You may not receive your
accrued benefits immediately after termination of the plan unless you are already entitled to receive them
at the time of plan termination.

Uniformed Services Employment And Reemployment Rights Act (USERRA)
The plan will provide benefits to covered employees entering into or returning from service in the armed
forces as may be required under the Uniformed Services Employment and Reemployment Rights Act
("USERRA").
Below is an explanation of how retirement plan rights are affected when an employee is called to active
duty. Employee-related rights continue, provided the military service does not exceed 5 years and the
employee receives an honorable discharge.
The duration of active military duty (not exceeding 5 years) constitutes service with ConAgra Foods for
plan purposes. This period will count for both vesting and benefit accrual purposes.


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Regardless of the length of the leave, a reasonable amount of travel time or recovery time for an illness or
injury determined by the Veteran's Administration (VA) to be service connected will be allowed, but not
more than 24 months.
When coverage under this Plan is reinstated, all provisions and limitations of this plan will apply to the
extent that they would have applied if you had not taken military leave and your coverage had been
continuous under this plan. There will be no additional eligibiJity waiting period under the plan.

Claims Review
If a claim for benefits is denied, you will receive a written explanation of the reasons for the denial. If you
disagree with the denial, you should request a review within 60 days of the day you receive the denial.
The Plan Administrator will review the claim and send you a written explanation of the decision. If your
claim is denied, the Plan Administrator will identify the plan provisions upon which the denial is based
and describe any information needed to complete the claim.
You may appeal the denial by sending a written request for review to:
ConAgra Foods, Inc.
Employee Benefits Administrative Committee .
One ConAgra Drive
Omaha, NE 68102-5001
This request must be made within 60 days ofthe day you receive the denial letter. You must specify the
reasons for your appeal and provide any supporting evidence. The Plan Administrator will act on your
appeal within 60 days and send you a written explanation of the decision.
A different time frame applies if your claim for a Disability Pension is denied. Your denial letter will set
out the requirements for review and appeaL

Loss of Benefits and Qualified Domestic Relations Orders
The plan is designed to provide benefits after you retire. Because the plan is a "qualified" plan, under
federal law, your rights to benefits are protected in a number of ways. There are, however, some
circumstances that may cause your benefits to be forfeited, delayed, or decreased as follows:
    • Inability to locate you or your beneficiary. If the Plan Administrator is unable to locate you or
      any other person to whom payments are being made, benefit payments may be delayed. It is very
      important that you andlor your beneficiary notify the Plan Administrator whenever there is a change
       of address. The address and telephone number of the Plan Administrator can be found in the
       Administrative Information section.
     • Termination of employment before you are vested. If you terminate employment for any reason
       before you vest (either upon earning five years of service or upon attaining age 65), your pension
       Will be forfeited.
       if you are not vested at the time of your death.




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     • Disability. Even if you are disabled under the tenns of the plan, you will not receive a disability
       pension on account of a disability caused or contributed to by war, declared or undeclared, or by
       any attempt at suicide regardless of whether you were sane or insane.
     • Qualified domestic relations order. In general, your benefits under the pension belong to you and
       under most circumstances, may not be sold, assigned, transferred, pledged, or garnished. However,
       if you become divorced or separated, certain court orders could require that part of your benefits be
       paid to someone else your fonner spouse or your children, for example. These court orders are
       known as domestic relations orders. Such orders must be submitted to the Plan Administrator to
       detennine whether they ~re "qualified domestic relations orders" (QDROs). You may obtain, free
       of charge, a copy of the plan's procedures for processing QDROs by calling or writing the Pension
       Service Center. As soon as you are aware of any court proceedings that may affect your benefits,
       contact the Plan Administrator.
     • Federal limits. Federal law limits the retirement benefit that certain individuals can receive. You
       will be notified if this law affects you.
     • Judgments, settlements and tax levies. Your benefits could also be offset or reduced by any amount
       you are required to pay to the plan as a result of a judgment or settlement against you in connection
       with a crime involving the plan, a civil judgment related to a violation of federal pension law or a
       breach of fiduciary duties involving the plan. In addition, some or all of your benefits could be
       distributed to satisfy a federal tax levy.
     • Restrictions based on funded status. The availability of certain lump sum payments may be
       restricted based on the funded status of the plan.

Limit on Benefits
Federal law limits the total benefit you can receive from the pension plan and other retirement plans
sponsored by the Company or any affiliated company. These limits rarely apply, but you will be notified
if they affect you.

Your ERISA Rights

As a participant in the the plan, you are entitled to certain rights and protections under the Employee
Retirement Income Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be
entitled to:

Receive Information About Your Plan and Benefits

     • Examine, without charge, at the office of the Plan Administrator and at other specified locations,
       such as work sites and union halls, all documents governing the plan, including insurance contracts
       and collective bargaining agreements, and a copy of the latest annual report (Fonn 5500 Series)
       filed by the plan with the U.S. Department of Labor and available at the Public Disclosure Room
       of the Employee Benefits Security Administration.




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      • Obtain, upon written request to the Plan Administrator, copies of documents governing the operation
        of the Plan, including insurance contracts and collective bargaining agreements, and copies of the
        latest annual report (Form 5500 Series) and updated summary plan description. There will be a
        25-cent charge for each page copied.
      • Receive a summary of the plan's annual funding notice. The Plan Administrator is required by law
        to furnish each participant with a copy of this notice.
      • Obtain a statement telling you whether you have a right to receive a pension at normal retirement
        age (age 65) and if so, what your benefits would be at normal retirement age if you stop working
        under the plan now. If you do not have a right to a pension, the statement will tell you how many
        more years you have to work to get a right to a pension. This statement must be requested in writing
        and is not required to be given more than once every 12 months. The plan must provide the statement
        free of charge.

Prudent Actions By Plan Fiduciaries

In addition to creating rights for plan participants, ERISA imposes duties upon the people who are
responsible for the operation of the plan. The people who operate your plan, called '''fiduciaries'' of the
plan, have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries.
No one, including your employer, your union, or any other person, may fire you or otherwise discriminate
against you in any way to prevent you from obtaining a pension benefit or exercising your rights under
ERISA.

Enforce Your Rights

If your claim for a pension benefit is denied or ignored, in whole or in part, you have a right to know why
this was done, to obtain copies of documents relating to the decision without charge, and to appeal any
denial, all within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy
of plan documents or the latest annual report from the plan and do not receive them within 30 days, you
may file suit in a Federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Plan Administrator.
If you have a claim for benefits, which is denied or ignored, in whole or in part, you may file suit in a state
or Federal court. In addition, if you disagree with the plan's decision or lack thereof concerning the qualified
status of a domestic relations order, you may file suit in Federal court.
Ifplan fiduciaries misuse the plan's money, or if you are discriminated against for asserting your rights,
you may seek assistance from the U.S. Department of Labor, or you may file suit in a Federal court. The
court will decide who should pay court costs and legal fees. If you are successful, the court may order the
person you have sued to pay these costs and fees. If you lose, the court may order you to pay these costs
and fees in some circumstances; for example, if the court finds your claim to be frivolous.

Assistance With Your Questions
  "   __e   -_OJ "1-_U"~"'" ..."'''' ... lULU. p~all, yuu ~l1UUIU \,;UIUaCr lne rian Aamlnlstrator. It you have any
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questions about this statement or about your rights under ERISA, or if you need assistance in obtaining


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documents from the Plan Administrator, you should contact the nearest office of the Employee Benefits
Security Administration, U.S. Department of Labor, listed in your telephone directory or the:
Division of Technical Assistance and Inquiries
Employee Benefits Security Administration
U.S. Department of Labor
200 Constitution Avenue N.W.
Washington, D.C. 20210
You may also obtain certain publications about your rights and responsibilities under ERISA by calling
the publications hotline of the Employee Benefits Security Administration.

Plan Insurance

Your pension benefits under this plan are insured by the Pension Benefit Guaranty Corporation (PBGC),
a federal insurance agency. If the plan terminates (ends) without enough money to pay all benefits, the
PBGC will step in to pay pension benefits. Most people receive all of the pension benefits they would have
received under their plan, but some people may lose certain benefits.
The PBGC guarantee generally covers:
1. Normal and early retirement benefits;
2. Disability benefits if you become disabled before the plan terminates; and
3. Certain benefits for your survivors.
The PBGC guarantee generally does not cover:
1. Benefits greater than the maximum guaranteed amount set by law for the year in which the plan
     terminates;
2.   Some or all of benefit increases and new benefits based on plan provisions that have been in place for
     fewer than 5 years at the time the plan terminates;
3.   Benefits that are not vested because you have not worked long enough for the company;
4.   Benefits for which you have not met all of the requirements at the time the plan terminates;
5.   Certain early retirement payments (such as supplemental benefits that stop when you become eligible
     for Social Security) that result in an early retirement monthly benefit greater than your monthly benefit
     at the plans normal retirement age; and
6.   Non-pension benefits, such as health insurance, life insurance, certain death benefits, vacation pay, and
     severance pay.
Even if certain of your benefits are not guaranteed, you still may receive some of those benefits from the
PBGC depending on how much money your plan has and on how much the PBGC collects from employers.
For more information about the PBGC and the benefits it guarantees, ask your Plan Administrator or
contact:
PBGC
P.O. Box 151750
Alexandria, VA 22315-1750
Or call
1-800-400-7242


 22                                                                  LWBAR - American Falls, ID - Plan Year 2013
                               Exhibit 1//Michael
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                                                   ConAgra
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TTYITDD users may call the federal relay service toll-free at 1-800-877-8339 and ask to be connected to
800-400-7242.
Additional information about the PBGCs pension insurance program is available through the PBGCs Web
site on the Internet at:
http://www.pbgc.gov

Collective Bargaining Agreement
As an hourly employee of the Company's American Falls, ID facility, you are a member of the collective
bargaining unit represented by the Teamsters Local #983, and the terms and conditions of the plan's benefits
are provided in accordance with the collective bargaining agreement between ConAgra and the union. You
may obtain a copy of this agreement by a request to the Plan Administrator (see the Administrative
Information section for contact information).




 LWBAR - American Falls, ID - Plan Year 2013                                                             23
1/5/2018                    Case 4:18-cv-00277-DCN Document
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                                                     Annual Return/Report of
        Form 5500                                     Employee Benefit Plan                                                     OMB Nos. 1210 - 0110
     Department of the Treasury              This form is required to be filed for employee benefit plans under sections           1210 - 0089
                                                                                   104
      Internal Revenue Service
         Department of Labor                and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA)
                                                                                   and
                                                                                                                                       2014
     Employee Benefits Security                                                                                             This Form is Open to Public
            Administration                   sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the               Inspection
Pension Benefit Guaranty Corporation                                             Code).

                                                              Complete all entries in accordance with
                                                                the instructions to the Form 5500.
Part I   Annual Report Identification Information
For calendar plan year 2014 or fiscal plan year beginning January 01, 2014 , and ending December 31, 2014
A a multiple-employer plan (Filers checking this box must attach a list of participating     a                              a multiple-employer plan;
  employer information in accordance with the form instructions)for                      multiemployer                      a DFE (specify)
                                                                                         plan;
                                                                                             a single-
                                                                                         employer plan;

 B This return/report is:                                                                               the first            the final return/report;
                                                                                                   return/report;            a short plan year
                                                                                                        an amended      return/report (less than 12
                                                                                                   return/report;       months).
 C If the plan is a collectively-bargained plan, check here
 D                                                                                                      Form 5558;           automatic           the DFVC
   Check box if filling under:
                                                                                                                         extension;          program;
                                                                                                        special extension (enter description)
Part II Basic Plan Information – enter all requested information.
1a   Name of plan                                                                                                 1b Three-digit
                                                                                                                                                        203
                                                                                                                     plan number (PN)
      PENSION PLAN FOR HOURLY BARGAINED UNIT EMPLOYEES OF LAMB WESTON, INC.                                       1c Effective date of plan
                                                                                                                     June 06, 1988

2a    Plan sponsor's name and address, including room or suite number (Employer, if for a single-employer         2b Employer Identification Number (EIN)
      plan)                                                                                                          XX-XXXXXXX
                                                                                                                  2c Sponsor's telephone number
      CONAGRA FOODS, INC.                                                                                            402-240-4000
      CONAGRA FOODS, INC.                                                                                         2d Business code (see instructions)
      OMAHA NE 68102                                                                                                 311400



Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying
schedules, statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true,
correct, and complete.



                                               10/09/2015                        TIM L JONES

        Signature of plan administrator           Date        Enter name of individual signing as plan administrator


                                               10/09/2015                        TIM L JONES

                                                              Enter name of individual signing as employer or plan
     Signature of employer/plan sponsor           Date
                                                                                    sponsor



               Signature of DFE                   Date              Enter name of individual signing as DFE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                        Form 5500 (2014)
                                                                                                                                             v.092308.1
3a    Plan administrator's name and address (if same as plan sponsor, enter"Same")                                3b Administrator's EIN
                                                                                                                     XX-XXXXXXX

http://freeerisa.benefitspro.com/5500/formprint.aspx?DLN=20151009170428P030036463911001                                                                       1/2
1/5/2018                    Case 4:18-cv-00277-DCN Document
                                                     Instant View1- FreeERISA  ExhibitPage
                                                                      Filed 06/18/18   2//Michael
                                                                                           46 of 54 v ConAgra
       CONAGRA FOODS, INC. EMPLOYEE BENEFITS ADMIN COMMITTEE                                                      3c Administrator's telephone number
       ONE CONAGRA DRIVE                                                                                                        402-240-4000
       OMAHA NE 68102-5001
4      If the name and/or EIN of the plan sponsor has changed since the last return/report filed for this plan,               4b EIN
       enter the name, EIN and the plan number from the last return/report below:
                                                                                                                              4c PN
       a Sponsor's name



5     Total number of participants at the beginning of the plan year                                                 5                   2546
6     Number of participants as of the end of the plan year unless otherwise stated (welfare plans only
      complete lines 6a(1), 6a(2), 6b, 6c, and 6d)
 a(1) Total active number of participants at the beginning of the plan year                                        6a(1)                 1333
 a(2) Total active number of participants at the end of the plan year                                              6a(2)
 b Retired or separated participants receiving benefits                                                             6b
 c    Other retired or separated participants entitled to future benefits                                           6c
 d Subtotal. Add lines 6a(2), 6b, and 6c                                                                            6d
 e    Deceased participants whose beneficiaries are receiving or are entitled to receive benefits                   6e
 f    Total. Add lines 6d and 6e                                                                                    6f
 g Number of participants with account balances as of the end of the plan year (only defined contribution           6g
      plans complete this item)
 h Number of participants that terminated employment during the plan year with accrued benefits that                6h                   38
      were less than 100% vested
7     Enter the total number of employers obligated to contribute to the plan (only multiemployer plans
                                                                                                                     7                    0
      complete this item)
8a    If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan
      Characteristics Codes in the instructions:
           1B     1D
 b     If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan
       Characteristics Codes in the instructions:


9a Plan funding arrangement (check all that apply)                                                              9b Plan benefit arrangement (check
   (1)    Insurance                                                                                                 all that apply)
   (2)    Section 412(e)(3) insurance contracts                                                                     (1)      Insurance
   (3)    Trust                                                                                                     (2)      Section 412(e)(3)
   (4)    General assets of the sponsor                                                                                  insurance contracts
                                                                                                                    (3)      Trust
                                                                                                                    (4)      General assets of the
                                                                                                                         sponsor
10 Check all applicable boxes in 10a and 10b to indicate which schedules are attached,and, where indicated, enter the number attached (See
instructions)
  a Pension Schedules                                                       b General Schedules
    (1)    R (Retirement Plan Information)                                    (1)     H (Financial Information)

     (2)        MB (Multiemployer Defined Benefit Plan and Certain Money          (2)     I (Financial Information – Small Plan)
                Purchase Plan Actuarial Information)- signed by the plan actuary  (3)     A (Insurance Information)
                                                                                  (4)     C (Service Provider Information)
   (3)      SB (Single-Employer Defined Benefit Plan Actuarial Information)       (5)     D (DFE/Participating Plan Information)
            - signed by the plan actuary                                          (6)     G (Financial Transaction Schedules)
 Part III Form M-1 Compliance Information (to be completed by welfare benefit plans)
 11a If the plan provides welfare benefits, was the plan subject to Form M-1 filing requirements during the plan year? (See
      instructions and 29 CFR 2520.101-2).....       Yes     No
      If “Yes” is checked, complete lines 11b and 11c.
 11b Is the plan currently in compliance with M-1 filing requirements? (See instructions and 29 CFR 2520.101-2)......      Yes     No
 11c Enter the Receipt Confirmation Code for the 2014 Form M-1 annual report. If the plan was not required to file the 2014
      Form M-1 annual report, enter the Receipt Confirmation Code for the most recent M-1 that was required to be filed under the
      Form M-1 filing requirements. (Failure to enter a valid Receipt Confirmation Code will subject the Form 5500 filing to rejection
      as incomplete.) Receipt Confirmation Code




http://freeerisa.benefitspro.com/5500/formprint.aspx?DLN=20151009170428P030036463911001                                                                 2/2
                          Exhibit 3//Michael
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I Vicki l Michael am submitting this claim in regards to a miscalculation in my
monthly pension benefit sum, for service at the Lamb-Weston/ConAgra Foods
processing plant in Am. Falls, Idaho from Oct. 7, 1974 to Nov 9, 2016.

 I have been trying to get this issue resolved through the ConAgra Pension service
center since last March and through the H.R. Manager, Martha Flores limon at
the Am. Falls plant since last April. I have contacted the service center at least 7
to 8 times but they keep telling me that the calculations are correct. I tried to
explain how the calculation needed to be done, but they just were not able to
understand what I was saying. I then went to my H.R. Manager Martha, and she
was able to see the problem and agreed with me that the calculation of my total
benefit amount was indeed wrong. She seemed quite confident that the lamb­
Weston Corporate H.R. Department would be able to get my issue resolved.

 When I retired on May 31, 2017 Martha told me she would keep me posted on
getting my issue resolved. Since I hadn't heard from her for over a month, I called
her last week and she told me that ConAgra would no longer discuss the issue
with the Lamb-Weston H.R. Dept. and that they ( ConAgra) had contacted me to
let me know that I needed to submit a claim to the ConAgra Foods Employee
Benefits Administrative Committee. To the best of my knowledge, I was never
contacted} so I got the address for this committee from Martha and here is my
claim.

 When I decided last summer that I needed to retire because of health problems,
I started researching how much my pension benefit amount would be. I got a
ConAgra Foods Pension Summary Plan Description book from the H.R. office and
added up all the benefit rate amounts for all the years I worked for ConAgra,
beginning on June 8} 1988. I did not add in any of the 13+ years I worked for
AmFac because I was one of the employees that were forced to take the AmFac
pension buyout. So I knew I would NOT be receiving a pension check from
AmFac. I would only be receiving a pension for my 28 and }S years of service from
ConAgra. The sum of benefit using the summary plan book for my 28 and }S years
with ConAgra came to $547.50.
                         Exhibit 3//Michael
        Case 4:18-cv-00277-DCN   Document 1 vFiled
                                             ConAgra
                                                   06/18/18 Page 48 of 54




 I then called the ConAgra Pension service center and asked for a pension
estimate to me mailed to me. When I received the estimate it stated a pension
benefit of $508.00. I knew the only way I could figure out why there was such a
difference in the sum I was getting with the summary plan book and the sum the
Pension service center was giving me. was by having a breakdown of all hours I
had worked for each year of my service. So I could see if there were a lot of years
that I did not get all the hours required to get a full amount of benefit rate. I
called the Pension service center and asked for a breakdown, they said that they
could get me that information. The pension service center never send me the
breakdown. even though I called several times over the next 3 months, they just
continued to tell me they were still working on it.

 So I had no choice but to wait until I requested my retirement packet (for my
retirement date on May 31, 2017) and see what the final numbers were for my
total pension benefit amount.

 I called on March 3, 2017 and requested my retirement packet. When I received
the packet, it still had the benefit amount of $508.00. I then called the pension
service center again and told them that I did not agree with the amount and once
again requested a breakdown of my service hours for each year worked.

 I received the breakdown and was able to identify exactly what was causing the
miscalculation.

  All of my AmFac service years ( 13 & 1/2 ) are being subtracted from my total
benefit amount when using the AmFac offset amount of $106.48 that AmFac
reported to ConAgra, BUT all of the 13 ~ years are Not being ADDED to my total
benefit amount.

 WHY, because I have a total of 42 years of service and our pension plan with
ConAgra only pays a total of 35 years of pension (the last 35 years). Because I
only get paid pension for the last 35 years, I only have 7 AND A HALF YEARS of my
Amfac service STILL on my last 35 years of service. The AmFac years for 1974
through most of 1981 have dropped off1 so the AmFac OFFSET amount of $106.48
that is being deducted from my total benefit amount of $614.28 is NOT the
                           Exhibit 3//Michael
          Case 4:18-cv-00277-DCN   Document 1 vFiled
                                               ConAgra
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correct number to use. This amount (106.48) that AmFac reported to ConAgra is
for ALL THE 13 and X YEARS I WORKED FOR AMFAC, NOT just the 7 and a half
years still left on my last 35 years. This means the AmFac offset amount of
$106.48 is NO longer APPLICABLE in the calculation of my pension. Because I have
more than 3S years of service, the AmFac offset amount needs to be
RECALCULATED by adding up JUST the AmFac service years that are still included
in my last 35 years of service. (1981 through half of 1988)'. By adding up those 7
and a half years you will get the correct AmFac offset amount of $67.88.{refer to
green highlighted years on calculation information sheet sent with this claim) (
Note: Since ConAgra took over the Lamb-Weston plants in about the middle of
1988, I did take the year 1988 and divide that, with half going to service for
AmFac and half going to service for ConAgra). If you then subtract the correct
AmFac offset amount of 67.88 from my total benefit amount of $614.28 on my
calculation information sheet, you will get my CORRECT total benefit amount of
$546.40 that I have earned for JUST my 28 and a half years of service for ConAgra
Foods. You can double check this amount by simply adding up my benefit
amounts earned for each year of service with ConAgra from June 8, 1988 to Nov
9, 2016, the total will come to $546.40.(refer to yellow highlighted years)

So I have shown 2 different ways to correct the miscalculation on my pension sum

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 In conclusion, alii am requesting is to receive my FULL pension benefit I have
 earned for my 28 X years of service for ConAgra. If you have any questions or
 need any additional information, please contact me at 208-240-1498, E-Mail
 Address fvmeagle@hotmail.com.               or   postal address Vicki Michael at 617 Scott St.
 Chubbuck, Idaho 83202

 I sincerely appreciate you time and effort in helping me get this issue resolved.

 July 20, 2017                                                Thank You,
                                                                     ~'A'V]rvJ                          /   /J
                                       Exhibit 3//Michael
                      Case 4:18-cv-00277-DCN   Document 1 vFiled
                                                           ConAgra
                                                                 06/18/18 Page 50 of 54



                                                Calculation Details
                                           Participant Information
                                                            •


                                             calculation Information
              Monthly Benefit Rate x Credited Service (up to 35 years) EQUALS Monthly Pension Benefit
            You earn one year of benefit service for each calendar year of employment in which you wotk
            at least 1,000 hours. If you work less than 1,000 hours, but at least 500 hours, you will rece kiJ
            partial year of service determined by dividing your hours worked by 1,000. If you work less
            500 hours in a year, you receive no partial year of benefit service except in the year or
            retirement, disability or death. For years before 1990, the requirement for a full year of ben.ft.
            service was 1,875 with partial credit with at least 1,000 hours. In limited clrcumstan~es you
            also receive prorated credit upon rehire after a break In service.
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                                  Exhibit 4//Michael
                 Case 4:18-cv-00277-DCN   Document 1 vFiled
                                                      ConAgra
                                                            06/18/18 Page 51 of 54

   I~          RYAN EGAN

",~~*"         vicePRESIDENT OF HUMAN RESOURCES
               222 MERCHANDISE MART PLAZA
CONAGRA        SUITE 1300   I CHICAGO.   IL 60654
 'BRANDS'




                                                                                       September 13, 2017


        Vicki L. Michael
        617 Scott Street
        Chubbuck, Idaho 83202


        Re: Claim under the Conagra Brands, Inc. Pension Plan for Hourly Rate Production Workers

        Dear Ms. Michael:

        I am writing to you on behalf of the Conagra Brands, Inc. Pension Plan for Hourly Rate
        Production Workers (the "Plan") in response to your letter, received September 1,2017, in which
        you request an increase in your Plan benefit because you believe a miscalculation occurred.
        After a thorough review of your request under the terms of the Plan and the Employee
        Retirement Income Security Act of 1974, as amended ("ERISA"), the Plan has determined that
        your claim must be denied for the reason stated below.

        Analysis and Decision

        As you acknowledged in your letter, your Plan benefit was subject to an offset for the benefit
        previously paid under the Pension Plan for Hourly Non-Bargaining Unit Employees of Amfac
        Foods, Inc. (the "Prior Plan"). In your claim letter, you requested that only a portion of your
        Prior Plan benefit be used as an offset from your Plan benefit because you worked a combined
        total of 42 years for Amfac Foods, Inc. and Conagra Brands, Inc. (formerly, ConAgra Foods,
        Inc.), and you believe your earliest service should be disregarded when determining the 35-year
        maximum.

        Please refer to Section 4.02-1 and Appendix I of the enclosed Plan document. The method you
        used to determine that only a partial offset should be made is inconsistent with the steps used to
        calculate your Plan benefit. Your benefit is calculated as follows:

            (1) the monthly pension benefit for your location is multiplied by your years of benefit
                service under the Plan (up to a maximum of35 years), then

            (2) your Prior Plan benefit is subtracted from the amount calculated under (1) above.

        Your maximum benefit is determined prior to the offset; and the number of years of service
        under the Prior Plan does not impact the 35-year maximum. Therefore, your Plan benefit was
        correctly calculated using the $106.48 offset for the Prior Plan benefit.

        The Plan Administrator is a fiduciary with respect to the Plan. A Plan fiduciary has a duty under
        ERISA to follow the specific terms of the Plan and administer those provisions consistently for
        all participants. To do otherwise would violate the express provisions of the Plan, and
        potentially risk the Plan's qualified status under the Internal Revenue Code.
                           Exhibit 4//Michael
          Case 4:18-cv-00277-DCN   Document 1 vFiled
                                               ConAgra
                                                     06/18/18 Page 52 of 54




Appeal Procedure

If you disagree with the decision regarding the denial of the claim you submitted and have
additional infonnation that you would like to share in support of your claim, you have 60 days
from the receipt of this letter to file an appeal. The appeal should be made in writing, and sent to
the Plan Administrator at the following address:

Conagra Brands, Inc.
Appeals Committee
222 W. Merchandise Mart, Suite 1300
Chicago, Illinois 60654

In connection with the appeal, you have the right to submit written comments, documents,
records and other infonnation relating to the claim for benefits. You also may request access to,
and copies of, all documents, records and other infonnation relevant to your claim for benefits.
Your request must be made in writing to the Plan Administrator at the address specified above.
The Plan Administrator will detennine what documents are relevant to the claim for benefits in
accordance with applicable regulations under ERISA. You will not be charged for documents
that are provided to you. The claim appeal will be reviewed by the Plan Administrator, and you
will be notified of a decision within 60 days.

The final decision will be sent to you in writing. If the appeal is denied, the decision will
provide (i) specific reasons for the denial, (ii) specific Plan provisions on which the denial is
based, and (iii) a statement that you may bring civil action under Section 502(a) of ERISA. The
decision of the Plan Administrator is final and conclusive.

If the appeal is denied, you may bring a civil action under Section 502(a) of ERISA in court,
provided you abide by certain time limitations. Specifically, you may not bring a legal action
against a party under the Plan later than six months from the final disposition of the claim on
appeal by the Plan Administrator. In addition, the action must be filed before the time limit
imposed by any other applicable statute of limitations.

                                              Regards,



                                              ~
                                              Vice President of Human Resources



Enclosure - Plan Supplement Twenty-Five




4848-6146-2094, v. 1
        01-0 18;         :52AM;From:Norman Reece                             : 1844 50494    334895             #   3
                        Case 4:18-cv-00277-DCN Document 1 Filed 06/18/18 Page 53 of 54
                                                            Exhibit 5//Michael v ConAgra
                      tt'tAN t:::1.::I.M.N
                      "'C~ PRESIDENT OF HUMAN RESOURCes
                      222 MeRCHANDise MMr PLA~A
     CONAGRA"         SUirE 1300             I CHICA"O,   IL 60654
      .aRAt-IOS·



                                                                                            December 21,2017

             Vicki Michael
             617 Scott Street '
             Chubbuck, Idaho 83202
             Re:' Appeal under the Conagra Brands, Inc. Pension Plan for Hourly Rate Production Workers ,

             Dear Ms. Michael:
             I am writing to you on behalf of the Conagra Brands, Inc. Pension Plan for Hourly Rate
             Production Workers (the "Plan") in response to your appeal, received November 6, 2017, in
             which you request an increase to your Plan benefit. Your appeal was reviewed by the Conagra
",           Brands Appeals Committee (the "Committee"). After a thorough review of your request under
             the terms of the Plan and the Employee Retirement Income Security Act of 1974, as amended
             ("ERISA"), the Committee has determined that your appeal must be denied for the reason stated
,
,

             below.
i'

             Background
             As previously communicated in the claim denial letter sent to you, your Plan benefit was subject
             to an offset for the benefit previously paid under the Pension Plan for Hourly Non-Bargaining
             Unit Employees of Amfac Foods, Inc. (the "Pnor Plan"). This offset Was properly applied in
             accordance with Section 4.02-1 and Appendix I of the Plan document., provided with your claim
             denial letter. Your benefit, based on the maximum of 35 years of benefit accrual, was
,
t
             determined prior to applying the offset, in accordance with the Plan terms; and the number of
I,           years of service under the Prior Plan did not impact the 35-year maximum. Therefore, your Plan
             benefit was correctly calculated using the $106.48 offset for the Prior Plan benefit.

              Analysis and Decision

              The Plan Administrator is a fiduciary with respect to the Plan. A Plan fiduciary has a duty under
I-
,             ERISA to follow the speCific terms of the Plan and administer those provisions consistently for
              all participants. To do otherwise would violate the express provisions of the Plan, and
              potentially risk the Plan's qualified status under the Internal Revenue Code. Your benefit was
              calculated in accordance with the Plan. Therefore, this letter constitutes a denial of your appeal.




              4l)13-2942·5497, v. 1
    01-0 18;      :52AM;From:Norman Reece
                                   Exhibit 5//Michael             : 1844 50494
                                                                          334895
                                           Document 1 vFiled
                                                       ConAgra                                               #   3
                  Case 4:18-cv-00277-DCN                     06/18/18 Page 54 of 54

               RYAN   ~GAN
               VIC~ p~ESIOENTOF HUMAN ~E$I)URCeS
                                                                                                                     ",  ,
               222 MERCHANDISE MART PLAZA

.. SRAHP;;-
               SUITE 1300      I CHICAGO,   IL 00054




        You are entitled to receive, upon request and free of charge, reasonable access to, and copies of,               'I
                                                                                                                          I
        all documents, records and other information relevant to'Your claim. You now ,have the right to
        bring a civil action under ERISA Section 502(a) in federal court if you choose to further pursue
                                                                                                                     .   "
                                                                                                                         :

        this claim, but you must comply With the applicable statute oflimitations. If you decide that
        you would like to further pursue this I.!laim, you must bring a dvil action in federal court.
        No other communication with the Plan office will be accepted on this matter.



                                                       Regards,


                                                       ~Q
                                                       Ryan Egan
                                                                                                                         ,
                                                                                                                         ,I
                                                       Vice President of Human Resources




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                                                                                                                             .r




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